  Case 2:20-cv-11942-LVP-APP ECF No. 3, PageID.10 Filed 10/05/20 Page 1 of 2




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN


BERTRAM VALENTINE CRICK             Case No.: 2:20-cv-11942-LVP-APP
Plaintiff,                          Hon. Linda V. Parker
v.

KULLEN & KASSAB, P.C.
Defendant.



    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF
   DEFENDANT WITH PREJUDICE AND WITHOUT COSTS OR
                  FEES TO ANY PARTY

      Plaintiff, by and through his attorney, Andrew L. Campbell, moves to
dismiss Defendant in the above action with prejudice and without costs or
fees pursuant to Fed. R. Civ. Pr. 41(a)(1)(A)(i). No answer was filed by
Defendant in the above entitled matter.



                                         /s/Andrew L. Campbell
Dated: October 5, 2020                   Andrew L. Campbell
                                         Attorney for Plaintiff
                                         5080 W. Bristol Rd, Suite 4
                                         Flint, MI 48507
                                         (810) 232-4344
                                         michiganbk@gmail.com
                                         P64391
  Case 2:20-cv-11942-LVP-APP ECF No. 3, PageID.11 Filed 10/05/20 Page 2 of 2




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN


BERTRAM VALENTINE CRICK                Case No.: 2:20-cv-11942-LVP-APP
Plaintiff,                             Hon. Linda V. Parker
v.

KULLEN & KASSAB, P.C.
Defendant.



                       CERTIFICATE OF SERVICE

A copy of Plaintiff’s Voluntary Dismissal of Defendant with prejudice and
without costs or fees to any party and this certificate of service was mailed
to:

John A. Kullen
Kullen & Kassab, P.C.
31000 Northwestern Highway, Suite 100
Farmington Hills, MI 48334

On October 5, 2020 by first-class mail with proper postage and properly
addressed by handing to an employee of the USPS in Flint Township,
Michigan.

                                              /s/Andrew L. Campbell
                                              Andrew L. Campbell                Formatted: Font: 14 pt
